                        IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF KANSAS

In Re:                                       )
                                             )                     Case No. 18-20838-7 RDB
SAMANTHA MARIE RUIZ                          )
                              Debtor.        )


 MOTION FOR APPROVAL OF RESIDENTIAL REAL ESTATE SALE CONTRACT FOR
   THE SALE OF REAL PROPERTY KNOWN AS 4905 DOUGLAS AVENUE, KANSAS
     CITY, WYANDOTTE COUNTY, KANSAS (ASSET #1) (TRUSTEE’S SALE #1),
     PURSUANT TO 11 U.S.C. § 363, FREE AND CLEAR OF ALL CLAIMS, LIENS,
    JUDGMENTS, INTERESTS AND ENCUMBRANCES, IF ANY; APPROVAL AND
 AUTHORIZATION FOR THE TRUSTEE’S SALE OF THE SUBJECT PROPERTY AS SET
  FORTH HEREIN, INCLUDING PAYMENT OF EXPENSES AND COSTS ASSOCIATED
    WITH SAID SALE; AND GRANTING THE TRUSTEE AUTHORITY TO EXECUTE
              ALL DOCUMENTS NEEDED TO FINALIZE SAID SALE

         Christopher J. Redmond, Chapter 7 Trustee of the bankruptcy estate of Samantha Marie

Ruiz, by and through counsel herein, and moves this Court for an Order approving the Residential

Real Estate Sale Contract by and between the Chapter 7 Trustee herein and Elvi Guerra and

Wagner Maricio Guerra-Arana for the sale of certain real property known as 4905 Douglas

Avenue, Kansas City, Wyandotte County, Kansas, for the sale price of ONE HUNDRED-

TWENTY THOUSAND AND NO/100 DOLLARS $120,000.00. In support hereof, the Trustee

states as follows:

         1. Samantha Marie Ruiz (the “Debtor”) filed for relief on April 24, 2018, under Chapter

            7 of the United States Bankruptcy Code and Christopher J. Redmond is the duly

            qualified and acting Chapter 7 Trustee of the bankruptcy estate of Samantha Marie

            Ruiz.

         2. The Debtor scheduled an ownership interest in real property, legally described as

            follows:




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                      Lot 2, Douglas Woods, a Subdivision in
                      Wyandotte County, Kansas (commonly
                      referred to as 4905 Douglas Avenue, Kansas
                      City, Wyandotte County, Kansas),
   hereinafter referred to as the “Real Property”.

3. The Real Property was not the Debtor’s homestead at the time of the filing of this

   bankruptcy proceeding, nor did the Debtor claim the Real Property as exempt.

4. The Debtor’s former spouse, Vincent Ivy, also held an ownership interest in the subject

   Real Property, and on September 5, 2018, Vincent Ivy agreed to and executed a Quit

   Claim Deed to Christopher J. Redmond, Trustee of the Bankruptcy Estate of Samantha

   Marie Ruiz, which was filed in the records of the Office of the Register of Deeds of

   Wyandotte County, Kansas on September 14, 2018, at 12:20:17 p.m., 2018R-13081.

   The bankruptcy estate now holds the entire undivided interest in and to the subject Real

   Property.

5. The Debtor listed the Real Property within her schedules as having a value of

   $80,000.00.

6. The Real Property is subject to the following mortgage(s) or lien(s):

       a. First Mortgage Holder: Nationstar Mortgage d/b/a Mr. Cooper in an amount

           exceeding $111,004.00;

       b. Second Mortgage Holder: Specialized Loan Servicing (SLS) in an amount

           exceeding $22,269.27;

       c. Lien(s): None

7. Based upon the market value of the Real Property provided by the Debtor and the

   information regarding the mortgages on this Real Property, the first mortgage debt is

   in excess of the market value of the Real Property.


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8. The Trustee filed an Application to retain BK Global Real Estate Services in this matter

   on September 26, 2018 (Doc# 20) and after notice upon all parties of interest in this

   matter, an Order was entered authorizing the employment of BK Global Real Estate

   Services on November 2, 2018 (Doc# 25).

9. BK Global Real Estate Services (“BK Global”) provides services to trustees as BK

   Global has expertise and experience in assisting the trustee in negotiating with secured

   creditors.

10. The Trustee also filed an Application to employ Trice Massey, a member of Greater

   Kansas City Realty and to approve a listing agreement by and between Greater Kansas

   City Realty and the Trustee on September 26, 2018 (Doc# 22) and after notice upon all

   parties of interest in this matter, an Order was entered authorizing the employment of

   Trice Massy of Greater Kansas City Realty and approving the listing agreement on

   November 2, 2018 (Doc# 26).

11. The Handbook for Chapter 7 Trustees published by the Executive Office of the United

   States Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a) General

   Standards “A trustee may sell assets only if the sale will result in a meaningful

   distribution to creditors. The Section further states “the trustee may seek a “carve-out”

   from a secured creditor and sell the property at issue if the “carve-out” will result in a

   meaningful distribution to creditors. Further, the Section states “The trustee must also

   consider whether the cost of administration or tax consequences of any sale would

   significantly erode or exhaust the estate’s equity interest in the asset.”




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12. BK Global has negotiated with the first mortgage creditor and a proposed carve out to

   this bankruptcy estate from the sale proceeds in the sum of $5,700.00 has been

   proposed.

13. The Trustee has entered into a Residential Real Estate Sale Contract with the Buyers,

   Elvi Guerra and Wagner Maricio Guerra-Arana, for the sale of the Real Property (Asset

   #1) (Trustee’s Sale #1) a copy of which is attached hereto as Exhibit “A” and

   incorporated herein by this reference.

14. The Trustee respectfully requests that the Court approve the Residential Real Estate

   Sale Contract for the sale of the Real Property identified hereinabove within paragraph

   #2, to the Buyers for the purchase price of ONE HUNDRED-TWENTY THOUSAND

   AND NO/100 DOLLARS ($120,000.00).

15. The Trustee believes that this is a reasonable price for the Real Property and requests

   that the Court approve the sale to the Buyer for the purchase price identified herein.

16. Section 363(f) of the Bankruptcy Code permits the Trustee, with Court approval, to

   liquidate bankruptcy estate property free and clear of all liens, encumbrances and

   interests.

17. The Trustee, in his business judgment, believes that this sale is for reasonable value

   and the sale should proceed to closing at this time.

18. A summary of the terms and conditions of the proposed sale are as follows:

       a. The sale price is $120,000.00;

       b. The sale is “as is” and “where is” without any representations or warranties,
          either express or implied, free and clear of all liens, claims, interests and
          encumbrances, if any, and, any and all easements and restrictions of record;

       c. Possession of the Real Property will be given upon closing.



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19. The Trustee acknowledges the valid first mortgage held as to the Real Property to

   Nationstar Mortgage d/b/a Mr. Cooper in an amount exceeding $111,004.00.

20. The following costs and expenses shall be paid at the closing from the proceeds of the

   sale of the Real Property:

       a.    Any Real Property Taxes due and owing at closing;

       b. Closing costs to the Title Company;

       c. Payment to Christopher J. Redmond, Trustee of the bankruptcy estate of
          Samantha Marie Ruiz, of a carve out in the sum of $5,700.00, for the benefit of
          the creditors herein;

       d. A two percent (2%) real estate commission to BK Global and any associated
          real estate professional;

       e. A two percent (2%) real estate commission to Trice Massey, a member of
          Greater Kansas City Realty;

       f. A two percent (2%) real estate commission to Keller Williams Realty Partners,
          Inc.; and

       g. The balance of the funds shall then be paid to first mortgage holder, Nationstar
          Mortgage, d/b/a Mr. Cooper.

21. The Trustee respectfully asserts that both the purchase price and the terms and

   conditions set forth above are the highest and best offer available for the purchase of

   the Real Property at this time.

22. The Trustee respectfully requests that the Court approve this sale and the purchase

   price, by and between the Chapter 7 Trustee herein, as Seller, and Elvi Guerra and

   Wagner Maricio Guerra-Arana, as Buyers, for the purchase price agreed to by the

   parties herein for the subject Real Property of ONE HUNDRED-TWENTY

   THOUSAND AND NO/100 DOLLARS ($120,000.00).




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       23. The Trustee requests that he be authorized to execute any documents necessary to close

           this sale with the buyer.

       WHEREFORE, the Trustee respectfully moves that the Court enter an Order approving

and authorizing the sale contemplated herein, approving the Residential Real Estate Sale Contract

by and between the Chapter 7 Trustee as Seller and Elvi Guerra and Wagner Maricio Guerra-

Arana, as Buyers, as to real property described as follows:

                              Lot 2, Douglas Woods, a Subdivision in
                              Wyandotte County, Kansas (commonly
                              referred to as 4905 Douglas Avenue, Kansas
                              City, Wyandotte County, Kansas),

together with any buildings and improvements located on the Real Property described above, all

furnishings and fixtures related to the improvements, if any and all other rights, privileges and

appurtenances pertaining to the Real Property, “as is”. “where is” an without any representations

or warranties, express or implied, free and clear of al liens, claims, judgments, interests and

encumbrances, if any, pursuant to Section 363(f), Title 11, U.S.C., Trustee’s Sale #1 of Assets #1,

the Real Property, to the Buyers, Elvi Guerra and Wagner Maricio Guerra-Arana, for the sum of

ONE HUNDRED-TWENTY THOUSAND AND NO/100 DOLLARS ($120,000.00); for

approval and authority to pay the expenses of the sale as set forth hereinabove; for approval and

authority to execute any documents required to finalize and complete this sale; and for such other

and further relief as the Court deems just and proper.

       DATED: March 21, 2019




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                Respectfully Submitted,




                s/ Christopher J. Redmond
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                ATTORNEY FOR THE CHAPTER 7 TRUSTEE




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                                 CERTIFICATE OF SERVICE

        The Undersigned hereby certifies that on March 21, 2019, the above and foregoing Motion
was filed electronically using CM/ECF and a true and correct copy of this Motion was served as
follows:

       __X    upon filing, the CM/ECF system sent notification to:

              U.S. Trustee
              ustpregion20.wi.ecf@usdoj.gov

              Michael J McVay on behalf of Debtor Samantha Marie Ruiz
              mcvaylawoffice@sbcglobal.net

              Pamela R Putnam on behalf of Creditor CitiGroup Mortgage Loan Trust Inc. Asset-
              Backed Pass-Through Certificates, Series 2007-AMC2, U.S. Bank National
              Association, as Trustee
              prp@martinleigh.com, bankruptcy@mllfpc.com

              and, any and all other parties receiving CM/ECF notification in this matter as
              shown within the receipt generated at the time of the filing of this Motion; and

       __X    via United States Mail, postage prepaid, first class, to all parties of interest as shown
              within the matrix attached to this Motion and on file with the Clerk.


                                              s/ Cynthia Houser




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